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                             No. 24-30706
   In the United States Court of Appeals for the Fifth Circuit

DARCY ROAKE, REVEREND, ON BEHALF THEMSELVES AND ON BEHALF OF
THEIR MINOR CHILDREN, REAL PARTY IN INTEREST A.V., REAL PARTY IN
INTEREST S.V.; ADRIAN VAN YOUNG, ON BEHALF OF THEMSELVES AND ON
BEHALF OF THEIR MINOR CHILDREN, REAL PARTY IN INTEREST A.V., REAL
PARTY IN INTEREST S.V.; MAMIE BROADHURST, REVEREND, ON BEHALF OF
THEMSELVES AND ON BEHALF OF THEIR MINOR CHILD, REAL PARTY IN
INTEREST N.W.; RICHARD WILLIAMS, REVEREND, ON BEHALF OF
THEMSELVES AND ON BEHALF OF THEIR MINOR CHILD, REAL PARTY IN
INTEREST N.W.; JEFF SIMS, REVEREND, ON BEHALF OF HIMSELF AND ON
BEHALF OF HIS MINOR CHILDREN, REAL PARTY IN INTEREST A.S., REAL PARTY
IN INTEREST C.S. 1, REAL PARTY IN INTEREST C.S. 2; JENNIFER HARDING, ON
BEHALF OF THEMSELVES AND ON BEHALF OF THEIR MINOR CHILD, REAL PARTY
IN INTEREST A.O.; BENJAMIN OWENS, ON BEHALF OF THEMSELVES AND ON
BEHALF OF THEIR MINOR CHILD, REAL PARTY IN INTEREST A.O.; DAVID
HAWLEY, ON BEHALF OF THEMSELVES AND ON BEHALF OF THEIR MINOR
CHILDREN REAL PARTY IN INTEREST A.H., REAL PARTY IN INTEREST L.H.;
ERIN HAWLEY, ON BEHALF OF THEMSELVES AND ON BEHALF OF THEIR MINOR
CHILDREN, REAL PARTY IN INTEREST A.H, REAL PARTY IN INTEREST L.H.;
DUSTIN MCCRORY, ON BEHALF OF THEMSELVES AND ON BEHALF OF HIS
MINOR CHILDREN, REAL PARTY IN INTEREST E.M.; REAL PARTY IN INTEREST
P.M., REAL PARTY IN INTEREST L.M.; GARY SERNOVITZ, ON BEHALF OF
THEMSELVES AND ON BEHALF OF THEIR MINOR CHILD, REAL PARTY IN
INTEREST T.S.; MOLLY PULDA, ON BEHALF OF THEMSELVES AND ON BEHALF
OF THEIR MINOR CHILD. REAL PARTY IN INTEREST T.S.; CHRISTY ALKIRE, ON
BEHALF OF HERSELF AND ON HEHALF OF HER MINOR CHILD, REAL PARTY IN
INTEREST L.A.; JOSHUA HERLANDS, ON BEHALF OF HIMSELF AND ON BEHALF
OF HIS MINOR CHILDREN, REAL PARTY IN INTEREST E.H., REAL PARTY IN
INTEREST J.H.,
                                       Plaintiffs-Appellees

                                      v.

CADE BRUMLEY, IN HIS OFFICIAL CAPACITY AS THE LOUISIANA STATE
SUPERINTENDENT OF EDUCATION; CONRAD APPEL, IN HIS OFFICIAL CAPACITY
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AS A MEMBER OF THE      LOUISIANA STATE BOARD OF ELEMENTARY AND
SECONDARY EDUCATION (LSBESE); JUDY ARMSTRONG, IN HER OFFICIAL
CAPACITY AS A MEMBER OF THE LSBESE; KEVIN BERKEN, IN HIS OFFICIAL
CAPACITY AS A MEMBER OF THE LSBESE; PRESTON CASTILLE, IN HIS
OFFICIAL CAPACITY AS A MEMBER OF LSBESE; SIMONE CHAMPAGNE, IN HER
OFFICIAL CAPACITY AS A MEMBER OF THE LSBESE; SHARON LATTEN-CLARK,
IN HER OFFICIAL CAPACITY AS A MEMBER OF THE LSBESE; LANCE HARRIS, IN
HIS OFFICIAL CAPACITY AS A MEMBER OF LSBESE; PAUL HOLLIS, LOUISIANA
STATE BOARD OF ELEMENTARY AND SECONDARY EDUCATION; SANDY
HOLLOWAY, IN HER OFFICIAL CAPACITY AS A MEMBER OF THE LSBESE;
STACEY MELERINE, IN HER OFFICIAL CAPACITY AS A MEMBER OF THE
LSBESE; RONNIE MORRIS, IN HIS OFFICIAL CAPACITY AS A MEMBER OF THE
LSBESE; EAST BATON ROUGE PARISH SCHOOL BOARD; LIVINGSTON PARISH
SCHOOL BOARD; VERNON PARISH SCHOOL BOARD; ST. TAMMANY PARISH
SCHOOL BOARD,
                                       Defendants-Appellants
                       _________________________
               On Appeal from the United States District Court
                     for the Middle District of Louisiana
                 No. 3:24-cv-517, Hon. John W. deGravelles
                       _________________________

MOTION FOR IMMEDIATE CIRCULATION OF THE PETITION FOR INITIAL
             HEARING EN BANC IN THE JANUARY SITTING
                     _________________________
ERIC C. RASSBACH                 ELIZABETH B. MURRILL
JOSEPH C. DAVIS                  Attorney General of Louisiana
BENJAMIN A. FLESHMAN             J. BENJAMIN AGUIÑAGA
AMANDA L. SALZ                   Solicitor General
KELSEY BAER FLORES               ZACHARY FAIRCLOTH
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           CERTIFICATE OF INTERESTED PERSONS

     A certificate of interested persons is not required here because,

under the fourth sentence of Fifth Circuit Rule 28.2.1, Appellants—as

“governmental” parties—need not furnish a certificate of interested

persons.



                                                /s/ J. Benjamin Aguiñaga
                                                J. BENJAMIN AGUIÑAGA
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     Pursuant to Federal Rules of Appellate Procedure 27 and 35,

Defendants-Appellants (the State) respectfully move the Court to

immediately circulate to the full Court the State’s Petition for Initial

Hearing En Banc in the January Sitting, ECF 75. Appellees take no

position on this request.

     As the State’s Petition explains, the Court has set a merits briefing

schedule that will conclude two weeks before the Court’s January en banc

sitting. In addition, the Court has scheduled oral argument in this case

during the January en banc sitting. And finally, as reflected in the

Petition, there is a serious need for the full Court’s review of this case.

     For these reasons, the State filed its Petition, asking the Court to

hear en banc argument in this case during the January sitting. In order

for the full Court to timely resolve the Petition and (if the Court grants

it) prepare the case for argument, the Petition will need to be

immediately circulated to the full Court. The Court has previously

granted a request to immediately circulate an initial en banc petition to

the full Court in a materially identical situation. See Order, Nairne v.

Landry, No. 24-30115 (5th Cir. May 22, 2024), ECF 174-2 (“IT IS




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ORDERED that Appellants’ opposed motion for immediate circulation of

the petition for initial hearing en banc is GRANTED.”).

     Accordingly, the State respectfully requests that the Court

immediately circulate to the full Court the State’s Petition for Initial

Hearing En Banc in the January Sitting, ECF 75.




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                                         Respectfully submitted,

ERIC C. RASSBACH                         ELIZABETH B. MURRILL
JOSEPH C. DAVIS                          Attorney General of Louisiana
BENJAMIN A. FLESHMAN
                                         /s/ J. Benjamin Aguiñaga
AMANDA L. SALZ
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Dated:   November 22, 2024
                                         Counsel for Appellants




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                      CERTIFICATE OF SERVICE

      I certify that on November 22, 2024, I filed the foregoing brief with

the Court’s CM/ECF system, which will automatically send an electronic

notice of filing to all counsel of record.



                                                      /s/ J. Benjamin Aguiñaga
                                                      J. BENJAMIN AGUIÑAGA




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                    CERTIFICATE OF COMPLIANCE

     Pursuant to Fifth Circuit Rule 32.3, the undersigned certifies that

this motion complies with:

     (1) the type-volume limitations of Federal Rule of Appellate

Procedure 27 because it contains 250 words; and

     (2) the typeface requirements of Rule 32(a)(5) and the type-style

requirements of Rule 32(a)(6) because it has been prepared in a

proportionally spaced typeface (14-point Century Schoolbook) using

Microsoft Word 2016 (the same program used to calculate the word

count).

                                                        /s/ J. Benjamin Aguiñaga
                                                        J. BENJAMIN AGUIÑAGA


Dated:      November 22, 2024




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